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 8
                       IN THE UNITED STATES DISTRICT COURT
 9
                          EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,          )
                                        )   CASE NO.   1:13-CR-00342 AWI
12                   Plaintiff,         )
                                        )
13        v.                            )
                                        )   STIPULATION AND PROTECTIVE ORDER
14   CHRISTINE ROSE CARAWAY and         )   BETWEEN THE UNITED STATES AND
     HEATH LEE ROBERSON,                )   DEFENDANT HEATH LEE ROBERSON
15                                      )
                     Defendants.        )
16                                      )
                                        )
17                                      )
18

19        WHEREAS, the discovery in this case contains a large amount of

20   personal information including but not limited to Social Security

21   numbers, dates of birth, driver’s license numbers, bank account

22   numbers, telephone numbers, residential addresses and filed tax

23   returns (“Protected Information”); and

24        WHEREAS, the parties desire to avoid both the necessity of large

25   scale redactions and the unauthorized disclosure or dissemination of

26   this information to anyone not a party to the court proceedings in

27   this matter;

28        The parties agree that entry of a stipulated protective order is

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 1   appropriate.

 2        THEREFORE, defendant HEATH LEE ROBERSON, by and through his

 3   counsel of record (“Defense Counsel”), and plaintiff the United States

 4   of America, by and through its counsel of record, hereby agree and

 5   stipulate as follows:

 6        1.     This Court may enter protective orders pursuant to Rule

 7   16(d) of the Federal Rules of Criminal Procedure, and its general

 8   supervisory authority.

 9        2.     This Order pertains to all discovery provided to or made

10   available to Defense Counsel as part of discovery in this case

11   (hereafter, collectively known as “the discovery”).

12        3.     By signing this Stipulation and Protective Order, Defense

13   Counsel agrees not to share any documents that contain Protected

14   Information with anyone other than Defense Counsel and designated

15   defense investigators and support staff.       Defense Counsel may permit

16   the defendant to view unredacted documents in the presence of his

17   attorney, defense investigators, and support staff.         The parties agree

18   that Defense Counsel, defense investigators, and support staff shall

19   not allow the defendants to copy Protected Information contained in

20   the discovery.   The parties agree that Defense Counsel, defense

21   investigators, and support staff may provide the defendants with

22   copies of documents from which Protected Information has been

23   redacted.

24        4.     The discovery and information therein may be used only in

25   connection with the litigation of this case and for no other purpose.

26   The discovery is now and will forever remain the property of the

27   United States Government.     Defense Counsel will return the discovery

28   to the Government or certify that it has been destroyed at the

                                            2
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 1   conclusion of the case.

 2        5.    Defense Counsel will store the discovery in a secure place

 3   and will use reasonable care to ensure that it is not disclosed to

 4   third persons in violation of this agreement.

 5        6.    Defense Counsel shall be responsible for advising each

 6   defendant, as well as Defense Counsel’s employees, other members of

 7   the defense team, and defense witnesses, of the contents of this

 8   Stipulation and Order.

 9   //

10   //

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 1        7.   In the event that the defendant substitutes counsel,

 2   undersigned Defense Counsel agrees to withhold discovery from new

 3   counsel unless and until substituted counsel agrees also to be bound

 4   by this Order.

 5

 6        IT IS SO STIPULATED.
     DATED: October 22, 2013
 7
                                      By:    /s/ Carolyn Phillips
 8                                          CAROLYN PHILLIPS
 9                                          Attorney for Defendant
                                            HEATH LEE ROBERSON
10

11

12   DATED: October 22, 2013                BENJAMIN B. WAGNER
                                            United States Attorney
13

14                                     By: /s/ Michael G. Tierney
15                                         MICHAEL G. TIERNEY
                                           MARK J. McKEON
16                                         Assistant U.S. Attorneys

17

18        IT IS SO ORDERED.

19

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21

22   DATED: _October 23, 2013__

23                                    _/s/ Gary S. Austin____________
                                      HON. GARY S. AUSTIN
24                                    UNITED STATES MAGISTRATE JUDGE
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